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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF WYOMING
Criminal No. IN-e2- 4 =

UNITED STATES OF AMERICA, )
)
Plaintiff, ) Ct. 1: 21 U.S.C. §846 and 841(a)(1)
and (b)(1)(C) (Conspiracy to
) Distribute Heroin Resulting in
) Death)
v. ) Ct. 2: 21 U.S.C. § 841(a)(1) and
) (b)(1)(C) and 18 U.S.C. § 2
) (Distribution of Heroin Resulting
MARCO CASTRO-CRUZ, ) in Death and Aiding and Abetting
a/k/a Juan Ramirez-Perez, ) the Distribution of Heroin
a/k/a Guero, ) resulting in Death)
)
)
)
Defendant. )
)
INDICTMENT

THE GRAND JURY CHARGES THAT:
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COUNT ONE

Beginning on or about April 1, 2013, through on or about April 25, 2013, within the
District of Colorado, the Defendant, MARCO CASTRO-CRUZ, a/k/a Juan
Ramirez-Perez, a/k/a Guero, and one and more other persons did knowingly agree to
distribute and to possess with intent to distribute a mixture and substance containing a
detectable amount of heroin, a Schedule I controlled substance, the use of which resulted in
the death of Kaleb Paul Skog within the District of Wyoming on or about April 10, 2013, in
violation of Title 21, United States Code, Sections 846 and 841(a)(1) and (b)(1)(C).

COUNT TWO

Beginning on or about April 9, 2013, within the District of Colorado, the Defendant,
MARCO CASTRO-CRUZ, a/k/a Juan Ramirez-Perez, a/k/a Guero, intentionally aided
and abetted another person to distribute and to possess with intent to distribute a mixture
and substance containing a detectable amount of heroin, a Schedule I controlled substance,
the use of which resulted in the death of Kaleb Paul Skog within the District of Wyoming
on or about April 10, 2013, in violation of Title 21, United States Code, Section 841(a)(1)

and (b)(1)(C) and Title 18, United States Code, Section 2.
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